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REBECCA TREACE,
Plaintiff,

v. No. 03-2409 Ml/V

UNUM LIFE INSURANCE
COMPANY OF AMERICA,

Defendant.

 

ORDER GRANTING DEFENDANT UNUM LIFE INSURANCE COMPANY OF AMERICA’S
MOTION IN LIMINE TO EXCLUDE THE OPINION TESTIMONY OF LINDA NEE

 

Before the Court is Defendant Unum Life Insurance Company of
America's Motion in Limine to Exclude the Opinion Testimony of
Linda Nee, filed March 15, 2005. Plaintiff responded in
opposition on March l8, 2005, and filed a supplemental memorandum
on March 24, 2005. Defendant filed a supplemental response on
April 15, 2005. For the following reasons, Defendant's motion is
GRANTED.

Defendant's motion relates to the proposed expert testimony
of Linda Nee, a former employee of the Defendant, regarding the
Defendant’s policies and procedures with respect to certain
disability claims. Defendant contends that Ms. Nee’s testimony
should be excluded pursuant to Federal Rule of Evidence 702 and
Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). In its

supplemental memorandum, Defendant also contends that Ms. Nee's

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testimony should be excluded in its entirety under Federal Rules
of Evidence 401 and 403 asserting that it is irrelevant and its
probative value is substantially outweighed by the danger of
unfair prejudice. Plaintiff contends that Ms. Nee's expert
testimony meets the standards of Rule 702 and Daubert and should
be admitted.1
With regard to expert testimony, Federal Rule of Evidence
702 provides that:
lf scientific, technical, or other specialized
knowledge will assist the trier of fact to understand
the evidence or to determine a fact in issue, a witness
qualified as an expert by knowledge, skill, experience,r
training, or education, may testify thereto in the form
of an opinion or otherwise, if (1) the testimony is
based upon sufficient facts or data, (2) the testimony
is the product of reliable principles and methods, and
(3) the witness has applied the principles and methods
reliably to the facts of the case.
Fed. R. Evid. 702. As part of its gatekeeping function, a trial
court “must ensure that any and all scientific testimony or
evidence admitted is not only relevant, but reliable.” Qauber;,
509 U.S. at 589. In making such a determinaticn, courts examine
the qualifications of the proposed expert, the reasoning or

methodology employed by the expert, and whether the expert

testimony is related to an issue in the case. ld. Moreover, the

 

' Plaintiff also contends that the admissibility of Ms.
Nee's testimony has been addressed by previous orders of this
Court. However, the Court has not previously considered the
specific question of whether Ms. Nee will be allowed to testify
as an expert witness at trial.

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opinion proffered must be analytically related to the underlying
data and methodology. General Elec. Co. v. Joiner, 522 U.S. 136,
146 (1997).

When an expert is being challenged under Daubert, “[t]he
focus, of course, must be solely on principles and methodology,
not on the conclusions that they generate.” Daubert, 509 U.S. at
594~95. The gatekeeping function of the trial judge, as
explained in Daubert, is not limited to scientific evidence and
testimony, but also applies to “technical” and “other
specialized" knowledge. Kuhmo Tire Co. v. Carmichael, 526 U.S.
137, 141, 147 (1999) (explaining that the obligations imposed on
a trial judge by Daubert apply to all expert testimony).

An expert's opinion may not be based upon a subjective
belief or unsupported speculation. Smelser v. Norfolk Southern
RR. Co., 105 F.3d 299, 303 (6th Cir. 1997)(citing Qagbert_y;
Merrell Dow Pharm., lnc., (on remand) 43 F.3d 1311, 1316 (9th
Cir. 1995). See also Glaser v. Thompson Medical Co., 32 F.3d 969,
980 (6th Cir. 1994)(Boggs, J., dissenting)(finding that “[expert]
testimony must be supported by a reasonable chain of evidence,
not speculation, and it is subject to the scrutiny of the trial
court”)(citation omitted).

The Court is not required to hold a hearing to determine
whether a proposed expert's testimony meets the Daubert

standards. Nelson v. Tennessee Gas Pipeline Co., 243 F.3d 244,

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248~49 (6th Cir. 2001)(finding no abuse of discretion by
magistrate judge in not conducting hearing regarding
admissibility of expert opinions). Here, the Court finds that
the record before it is adequate and that no evidentiary hearing
is necessary to decide the question of whether Ms. Nee’s proposed
expert testimony will be allowed.

Ms. Nee’s relevant qualifications and opinions are set forth
in two separate affidavits filed with the Court. (Pl.’s Resp. to
Def. Unum Life lns. Co. of Am.’s Mot. in Lim. To Excl. the Test.
of Linda Nee, Ex. E (“Nee Aff.”); Ex. A (“Supp’l. Nee Aff.”).)2
Her qualifications include being an employee of Defendant for
approximately six years, from 1996 until 2002, during which time
Ms. Nee received training and developed experience related to the
policies and practices of the Defendant regarding certain
insurance claims practices and administrative review processes.
(Pl.’s Resp. to Def. Unum Life lns. Co. of Am.’s Mot. in Lim. To
Excl. the Test. of Linda Nee, Ex. E (“Nee Aff.”) I 4.) Ms. Nee
held various positions with Defendant during her employment,
including “Administrative Assistant and Compensation Specialist,”
“Customer Care Specialist,” “Senior Customer Care Specialist,”

and “Lead Customer Care Specialist.” (Nee Aff. I 4.) Ms. Nee

 

2 Plaintiff has not submitted an expert report with respect
to Ms. Nee.

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does not contend that she was responsible for creating or
implementing any of Defendant's policies and procedures.

Ms. Nee’s reasoning or methodology in this case involved
applying her experience and knowledge as a former employee of
Defendant and as a private insurance claim consultant to arrive
at certain opinions regarding the Defendant's conduct. ln
forming those opinions, Ms. Nee reviewed the Plaintiff’s claim
file produced by Defendant, as well as Defendant's answers to
certain interrogatory and document requests. (Nee Aff. I 10.)

Upon reviewing Ms. Nee's affidavits, the Court finds that_
they contain a mixture of (1) personal knowledge regarding the
Defendant's policies and procedures,r and (2) speculation
regarding both the significance of the alleged absence of certain
documentation in Plaintiff’s claim file and Defendant’s
motivation for taking certain actions. For example, Ms. Nee
states in her affidavit that “l have reviewed the claim file
produced by Defendant and it does not contain documentation of
such extensive efforts which are typically made to avoid policy
lapse for failure to make premium payments.” (ld. l 16.) Ms. Nee
then opines that: “[i]t is unreasonable that UNUM's billing
department would not provide follow~up for the collection of

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premium on such a longstanding policy.” (Id. I 16); [i]t is my
opinion to a reasonable degree of certainty that the Defendant

chose not to follow its normal business practices that includes

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engaging in extensive communications and other customer care
options available to regain premium payments without allowing the
policy to lapse as occurred in this case.”(ld. I 17.); “[i]t is
also my opinion, based upon my knowledge and experience while
working as a lead customer care specialist at UNUM at the
Portland, Maine office during the period of time that UNUM
allowed the Plaintiff’s claim to lapse, that UNUM engaged in
claims handling practices that were designed to find a way to
deny valid claims.” (1d. i 17.); and that “[i]t is my opinion
based upon my knowledge and experience while working as a lead
customer care specialist at UNUM at the Portland, Maine office
during the period of time that the Plaintiff was entitled to have
her request for reinstatement considered that UNUM did not follow
up with the Plaintiff's requests for reinstatement of her policy
because UNUM knew that the Plaintiff may have a potential claim
and that UNUM engaged in claims handling practices that were
designed to find a way to deny valid claims.” (1d. I 18.)
Plaintiff contends that Ms. Nee’s education, training and
experience as an employee of Defendant qualifies her to testify
regarding her opinions as to the motivation behind Defendant’s
treatment and denial of Plaintiff’s insurance claims. The Court
has reviewed Ms. Nee's Curriculum Vitae, her original affidavit,
her supplemental affidavit (Pl.'s Resp. to Def. Unum Life lns.

Co. of Am.'s Mot. in Lim. To Excl. the Test. of Linda Nee, Ex.

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A), as well as the parties’ motions regarding the admissibility
of Ms. Nee’s proposed expert opinions. Having reviewed the
record, the Court finds that Ms. Nee should not be permitted to
offer expert testimony in this case. However, Ms. Nee may be
permitted to testify regarding relevant matters within the proven
extent of her personal knowledge.

With respect to the opinions asserted in her affidavits, the
Court finds that those opinions are not sufficiently factually
based and are not the product of the application of reliable
principles and methods. _ee Fed. R. Evid. 702. In forming her
conclusions, Ms. Nee relied upon her experience working for
Defendant as well as a review of Plaintiff's claim file.

However,r Ms. Nee has based her opinions and conclusions on
speculation as to Defendant's motivation for denying Plaintiff's
claim and regarding whether and which documents were removed from
Plaintiff’s file. The Court finds her speculation insufficient
to satisfy the requirements of Rule 702. §eg §mel§er, 105 F.3d at
303 (finding that an expert's subjective belief or unsupported
speculation will not satisfy Rule 702).

Furthermore, the Court finds that Ms. Nee’s conclusions and
opinions regarding Defendant's conduct, and the motivations
behind it, would not “assist the trier of fact to understand the
evidence or to determine a fact in issue.” §ee Fed. R. Evid. 703.

Ms. Nee’s stated opinions and conclusions are more akin to a

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legal argument rather than an expert opinion. While such
arguments may be properly made by counsel at the appropriate
time, such arguments coming from an asserted expert witness will
not assist the jury in making its decisions.

Additionally, the Court finds that the speculative nature of
Ms. Nee's opinions, combined with her status as a former employee
of Defendant, make the probative value of her opinion testimony
outweighed by the danger of unfair prejudice, confusion of the
issues, or misleading the jury. _ee Fed. R. Evid. 403.

Accordingly, Ms. Nee will not be permitted to provide expert
testimony in the form of opinions or conclusions regarding
Defendant's policies and procedures or the motivation behind any
of its decisions relevant to this case. Ms. Nee will, however,
be permitted to testify regarding relevant matters within the

proven extent of her personal knowledge.

So ORDERED this f l day of April, 2005.

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JON P. MCCALLA
UNI ED STATES DISTRICT JUDGE

 

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